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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )         4:05CR3025
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )         MEMORANDUM
                                          )         AND ORDER
SOKHA KEO,                                )
                                          )
             Defendant.                   )


       This matter is before the court on the Magistrate Judge’s Recommendation that
Defendant’s Motion to Suppress be denied. At the conclusion of the evidentiary
hearing on the motion to suppress, Magistrate Judge Piester stated on the record his
conclusions and decision to recommend that the motion to suppress be denied.
(Filing 53, T. at 49-52.) He also issued a brief Report, Recommendation and Order
recommending denial of the motion to suppress. (Filing 51.) The transcript of the
evidentiary hearing has now been filed (filing 53) and Defendant has filed objections
to the Recommendation (filing 59), as allowed by 28 U.S.C. § 636(b)(1)(C) and
NECrimR 57.3.

       I have conducted, pursuant to 28 U.S.C. § 636(b)(1) and NECrimR 57.3, a de
novo review of the portions of the Report, Recommendation and Order to which
objections have been made. Inasmuch as Judge Piester has fully, carefully, and
correctly applied the law to the facts, I need only state that the Recommendation
(filing 51) should be adopted, Defendant’s objections to the Recommendation (filing
59) should be denied, and Defendant’s Motion to Suppress (filing 29) should be
denied.
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       Keo was a passenger in a vehicle stopped for traffic violations. A drug dog
alerted to drugs during the stop. At the scene of the stop, she was advised of her
Miranda rights. The vehicle in question was placed on a flatbed truck and transported
to a service station. The truck was followed by three law enforcement vehicles. Keo
rode in one of those vehicles to the service station. At the service station, one of the
law enforcement officers (Sergeant Connelly) was asked to interview Keo. He was
not the officer who had advised her of her rights. Keo exited the vehicle she was
transported in and entered Sergeant Connelly’s vehicle. She seeks to suppress
statements made to Sergeant Connelly, asserting that questioning continued after she
invoked her right to remain silent.

       I have carefully reviewed the audiotape of Sergeant Connelly’s interview of
Keo. Sergeant Connelly introduced himself and said “The other officers read you
your rights. So you understand all the rights. OK. Are you willing to talk with me
about–?” Keo interjected with “Oh, I – have nothing to say.” (Keo asserts that this
statement was a clear invocation of her right to remain silent.) Sergeant Connelly
responded by stating “you have nothing to say?” and making a noise which might
have been “OK” or a clearing of his throat. Keo then said “Ah, only, I don’t know
anything so how am I going to say?” Sergeant Connelly then asked Keo if she was
willing to talk about things she did know such as her personal history, and Keo
answered those questions. Connelly went on to ask how Keo knew the driver of the
vehicle and details of her travel with him.

       Keo’s statement “Oh, I–have nothing to say” was ambiguous and may have
been a denial of knowledge. “A denial of knowledge does not constitute an assertion
of the right to remain silent.” Simmons v. Bowersox, 235 F.3d 1124, 1131 (8 th Cir.
2001). When a suspect makes an ambiguous or equivocal statement it is good police
practice for the interviewing officer to clarify whether the suspect is invoking
Miranda rights. Id. at 1132 n.3 (citing Davis v. United States, 512 U.S. 452, 461
(1994).). Sergeant Connelly’s question “you have nothing to say?” was an attempt

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to clarify. Considered in the context of the entire interview, I agree with Judge
Piester that Keo’s statement “Oh, I –have nothing to say” did not invoke her right to
remain silent. Simmons, 235 F.3d at 1131 (Assertion of Miranda rights “must be
neither ambiguous or equivocal. . . . To determine whether a defendant has
unequivocally invoked the right to remain silent, the defendant’s statements are
considered as a whole.”).

      Accordingly,

      IT IS ORDERED:

      1.     The Magistrate Judge’s Recommendation (filing 51) is adopted;

      2.     Defendant’s objections to the Recommendation (filing 59) are denied;
and

      3.     Defendant’s motion to suppress (filing 29) is denied.

      DATED June 10, 2005.

                                               BY THE COURT:

                                               s/Richard G. Kopf
                                               United States District Judge




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